      Case 1:21-cv-01438-AMM-HNJ Document 6 Filed 10/27/21 Page 1 of 1




                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF ALABAMA
                           NORTHERN DIVISION

 JERMICHAEL LAMAR HART,                  )
 #17247-002,                             )
                                         )
               Petitioner,               )
                                         )
        v.                               )      CASE NO. 2:21-CV-577-WKW
                                         )                [WO]
 UNITED STATES OF AMERICA,               )
                                         )
               Respondent.               )

                                     ORDER

       On September 30, 2021, the Magistrate Judge filed a Recommendation to

which no timely objections have been filed. (Doc. # 3.) Upon an independent review

of the record, it is ORDERED that the Recommendation is ADOPTED and that this

action is TRANSFERRED to the United States District Court for the Northern

District of Alabama pursuant to 28 U.S.C. § 1631.

       The Clerk of the Court is DIRECTED to take the necessary steps to effectuate

the transfer of this action.

       DONE this 27th day of October, 2021.


                                                   /s/ W. Keith Watkins
                                             UNITED STATES DISTRICT JUDGE
